
22 So.3d 140 (2009)
R.A.V., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D09-1694.
District Court of Appeal of Florida, First District.
November 17, 2009.
Nancy A. Daniels, Public Defender; and Joel Arnold, Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The trial court issued a juvenile disposition order finding the allegations of simple battery to be true, withholding an adjudication of delinquency, and placing the appellant on probation. Counsel for the appellant filed a brief pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), noting that an adjudication of delinquency was withheld. After a full and independent review of the record, we affirm the disposition order but remand to the trial court with instructions to correct a relatively minor sentencing error by striking costs in the amount of $20.00 imposed pursuant to the Crime Prevention Fund and section 775.083(2), Florida Statutes (2008). See In re Anders Briefs, 581 So.2d 149, 152 (Fla.1991) (directing appellate courts to follow Anders procedure even where costs and other minor sentencing errors are raised in the Anders brief); J.S. v. State, 19 So.3d 380 (Fla. 2d DCA 2009) (remanding with directions to strike costs imposed under section 775.083(2), where the adjudication of delinquency was withheld); C.M.S. v. State, 997 So.2d 520, 521 (Fla. 2d DCA 2008) (noting that such costs under that statute can be assessed against a juvenile only upon an adjudication of delinquency).
AFFIRMED and REMANDED with instructions to strike costs assessed under section 775.083(2).
KAHN, BENTON, and CLARK, JJ., concur.
